












Dismissed and Memorandum Opinion filed August 4, 2011.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-11-00615-CR

____________

&nbsp;

STEVEN CRAIG MOODY, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 179th District Court


Harris County, Texas

Trial Court Cause No. 1298025

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

Appellant entered a guilty plea to theft.&nbsp; In accordance with
the terms of a plea bargain agreement with the State, the trial court sentenced
appellant on June 9, 2011, to confinement for three years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se
notice of appeal.&nbsp; We dismiss the appeal. 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Frost, Jamison, and McCally.

Do Not Publish. &nbsp;Tex. R. App. P. 47.2(b) 





